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                                             IN THE UNITED STATES DISTRICT COURT
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                                                FOR THE DISTRICT OF MARYLAND


                UNITED STATES OF AMERICA,                        *
                                                                 *     C"nmma
                                                                           . 1No. RDD. 08-056
                v.
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                PATRICK ALBERT BYERS, ET AL.                     *                          ,i
                                                                                                I
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                *         *      *       *         *     *       *     *       *       *            *       *       *

                                                       MEMORANDUM          ORDER

                          Defendant Patrick A. Byers, Jr., has been charged in a nine-couht federal indictment,
                                                                                           ,II


                which includes a substantive count of murder- for-hire of government litness            Carl Stanley Lackl
                                                                                            II,

                in violation of 18 U.S.C. S 1958(a). On September 7,2007, while ind~cerated in Baltimore City

                and awaiting trial on a separate murder, Mr. Byers was taken into cust~dY by members of the

                Baltimore County Police Department on an arrest warrant and was pladed in an interview room.

                Baltimore County Police Homicide Detective Gary Ruby obtained a sJtement from Mr. Byers
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                that was recorded and videotaped.                                           .1


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                          On June 23,2008, Mr. Byers filed a Motion to Suppress In-CoJrt Identifications and
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                Custodial Statements Pursuant to Federal Rule 12(b)(3) (paper No. 61)~ in which he challenges,
                                                                                            II
                inter alia, the admissibility of his custodial statement of September 7, 2007. Mr. Byers claims

                that "any statements, admissions or confessions allegedly made by DJlndant              Byers to any law

                enforcement officer were obtained in violation of Defendant Byers' p+11ilege against self-

                incrimination and his right to counsel as guaranteed by the Fifth, Sixth) and Fourteenth
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                                                                          _,          I    lairl>s\hat "\.alny stateIU      ,

                    Nnen           ofth   United StateS constitution."
                                                                    lV,r.Byers a SOc       !                                            \
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                    adJnissi         e                                                                                                      \
                        drnents or confessions allegedly made were obtained in viol      '" of \he rights secured by the                    i
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                           ons
                     supreIU Court's holding in Miranda v. Arizona, 384 U.S. 436 (199 )."
                            eOn septeIU    12,20    and SepteIUber 16,2008, hearings ~ere beld on non-capital
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    \                                  ber
                      motions submitted by Defendants patrick A.. Byers, Frank j(. Goo(\nlall, Michael J. Randle and
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                       Steven Thompson. At the September 16'" hearing, Detective RUi testift       about his September

                           7, 2007 intet'liew wi\h Mr. Byers and \his Court heard oral argurent from attorneys representing
                                                                                                 asons
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                            Mr. Byers and \he Governro . On september 16,20 , for t*ere                 stated on the record
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                                                        ent
                             during \hat motions hearing, this Court denied \he motion oftheIIIi Defendant patrick A.. Byers to
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                             suppress tangible evidence from his jail cell (paper NO. 60). INi\h respect to \he Defendant
                                                                                           II         ents
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                              Byers' motion to suppress in-court identif1cations and custo<!i stateIU      (paper NO. 61), this
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                               Court denied \hat motion in part, for the reasons stated on tne record, bUt held sub curia \he
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        \                       adJnissibility of his custodial statement of September 7: 20r7, pending review of \he videotape of


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                                \hat mterrogat10n. Havmg re",e
                                                                  wed
                                                                         \hat ",deotape m 1tS,ntlfety, for \he reasons stated beloW,


                                 this Court denies \he balance of said motion (psper No. 6~).




                                  1        Miranda warnings are required when a subject is interrOgated while in custody. Miranda,

                \                   384 U.S. 436 (1966). However, a subject may waive liis rights and voluntarily submit to

                                     custodial interrogation. To be valid, the waiver "need not be explicit, but may be inferred from

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                                      all the circumstances."   United States v. Hicks, 748 FF          854,859 (4th Cit. 1984).

                                              "The requirement that Miranda warnings be i~iven does not ... dispense wi\h \he
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            voluntariness inquiry." Dickerson v. United States, 530 U.S. 428,444 (2000). For a statement to

            be involuntary under the Due Process Clause ofthe Fifth Amendmen~, it must be "extracted by

            ... threats or violence;" or "obtained by ... direct or implied promises;" or the exertion of ...
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            improper influence."    United States v. Braxton, 112 F.3d 777, 780 (4th Cir. 1997). In
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            determining voluntariness, the crucial inquiry is whether the subject'~ will has been "overborne"
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            or his "capacity for self-determination critically impaired."    United sthtes v. Pelton, 835 F.2d

            1067, 1071-72 (4th Cir. 1987). In determining voluntariness of a stat~ment, the court examines

            "the totality of the circumstances," including the defendant's individtial characteristics and
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            background, the setting in which the statement occurred, and the detaHs of the interrogation or
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            interview.   United States v. Elie, 111 F.3d 1135,1143-44    (4th Cir. 1997).

                    After considering the testimony and arguments presented at tie September 16, 2008

            hearing, and after reviewing the recordings of Defendant Byers' September 7, 2007 interrogation,
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            this Court concludes that no constitutional violation occurred. Prior to his statements on
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            September 7, 2007, Mr. Byers was thoroughly advised of his Miranda rights, and each Miranda
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            warning was read to him and he signed and initialed a Miranda wai\~;erform. Mr. Byers was

            sober, alert, and coherent during the review and execution of the M)anda waiver and throughout

            his interrogation.   There is absolutely no evidence of.his will being '\overborne" or his "capacity

            for self-determination" being "critically impaired."


            II.     Conclusion

                    Accordingly, IT IS this 13th day of November, 2008, by the Wnited States District Court

            for the District of Maryland hereby ORDERED that:



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1.   Defendant Byers' Motion to Suppress In-Court Identifications and Custodial
     Statements Pursuant to Federal Rule 12(b)(3) (Paper Nb. 61) is DENIED; and
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2.   The Clerk of the Court transmit copies of this Order to::counsel for the parties.
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                                                    /s/  £%(~~~
                                                    Rich;u:(lJ; Bennett
                                                    United St1ktesDistrict Judge




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